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                                   EXHIBIT A

                                 Barry Declaration




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                      Chapter 11

             Peer Street, Inc., et al.,1                                 Case No. 23-10815 (LSS)

                                                 Debtors.
                                                                         (Jointly Administered)



                  DECLARATION OF JOSEPH BARRY IN SUPPORT OF THE DEBTORS’
                 APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION AND
                   EMPLOYMENT OF YOUNG CONAWAY STARGATT & TAYLOR AS
               CO-COUNSEL FOR THE DEBTORS, EFFECTIVE AS OF THE PETITION DATE

                             I, Joseph Barry, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury

         that:

                             1.       I am a partner in the firm of Young Conaway Stargatt & Taylor, LLP

         (“Young Conaway” or the “Firm”), with offices at Rodney Square, 1000 North King Street,

         Wilmington, Delaware 19801, and have been duly admitted to practice in the State of Delaware,

         the State of New York, the United States Bankruptcy Court for the District of Delaware, the United

         States Court of Appeals for the Third Circuit and the United States Supreme Court. I submit this

         declaration in support of Debtors’ Application for an Order Authorizing the Retention and

         Employment of Young Conaway Stargatt & Taylor, LLP as Co-Counsel for the Debtors, Effective

         as of the Petition Date (the “Application”).2


         1
               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
         2
               Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
               Application.
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                           2.       Young Conaway has conducted a series of searches in the Firm’s conflicts

         databases to identify relationships with the Debtors, their lenders, equity holders, and various other

         parties-in-interest in these cases (collectively, the “Interested Parties”).3

                           3.       Based on the conflicts and connections search conducted and described

         herein, to the best of my knowledge, neither I, Young Conaway, nor any partner, counsel, or

         associate thereof, insofar as I have been able to ascertain, has any connection with the Debtors or

         any other parties-in-interest herein, except as stated below:

                                         a. In recent months, Young Conaway and certain of its partners and
                                            associates have rendered legal services to the Debtors relating to
                                            their plans to seek relief under chapter 11 of the Bankruptcy Code
                                            and the preparation of the petitions and other papers initiating and
                                            prosecuting these cases.

                                         b. The Debtors have sought or will seek to retain, among others,
                                            Kramer Levin Naftalis & Frankel LLP as bankruptcy co-counsel
                                            (“Kramer Levin”), Province, LLC (“Province”) to provide a Chief
                                            Restructuring Officer and support staff, Piper Sandler Loan
                                            Strategies LLC (“Piper Sandler”) as broker, and Stretto, Inc.
                                            (“Stretto”) as administrative advisor in these chapter 11 cases.
                                            Young Conaway has in the past and/or currently does work with
                                            and/or against such professionals in connection with matters wholly
                                            unrelated to these chapter 11 proceedings.

                                         c. Young Conaway may have previously represented the Interested
                                            Parties listed below, or parties who may be affiliated with such
                                            Interested Parties, in matters wholly unrelated to the Debtors and
                                            these chapter 11 cases:
                                                 i.    FCI Lender Services, Inc.
                                                ii.    The Hartford Insurance Co.
                                              iii.     Kramer Levin Naftalis & Frankel LLP
                                               iv.     Lloyd’s of London
                                                v.     MFA (MFRA 2015/Barclays)
                                               vi.     PG&E
                                              vii.     Wilson Sonsini Goodrich & Rosati

                                         d. Young Conaway currently represents (and may in the past have
                                            represented) the Interested Parties listed below, or parties who may

         3
             A list of the Interested Parties is attached hereto as Schedule 1.
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                                         be affiliated with such Interested Parties, in matters wholly unrelated
                                         to the Debtors and these chapter 11 cases:
                                            i.   ACM Alamosa I LP
                                           ii.   ACM Alamosa I-A LP
                                         iii.    Chubb Group of Insurance Companies
                                          iv.    First American Data & Analytics
                                           v.    First American Mortgage Solutions, LLC
                                          vi.    Small Business Administration
                                         vii.    State of Delaware
                                        viii.    Wells Fargo & Company

                         4.      In addition, to the best of my knowledge, information, and belief and in

         accordance with Bankruptcy Rule 5002, neither I, nor any attorney at Young Conaway is a relative

         of the United States Bankruptcy Judge assigned to these chapter 11 cases, and Young Conaway

         does not have a connection with the United States Bankruptcy Judge that would render the Firm’s

         retention in these chapter 11 cases improper. Further, in accordance with Bankruptcy Rule 2014,

         Young Conaway does not have any connection with the U.S. Trustee or any persons employed by

         the U.S. Trustee.

                         5.      Young Conaway is continuing to review the Debtors’ complete list of

         creditors. Based upon the Firm’s review as of this date, Young Conaway has determined that it

         does not represent any party in these proceedings with a material adverse interest with respect to

         the Debtors. Young Conaway will supplement this declaration, as necessary, with additional

         information or disclosures in the event that additional information is developed.

                         6.      Except as disclosed herein, Young Conaway has not represented the

         Debtors, their creditors, or any other parties-in-interest, or their respective attorneys, in any matter

         relating to the Debtors or their estates.

                         7.      Young Conaway is a “disinterested person” as that term is defined in

         section 101(14) of the Bankruptcy Code in that Young Conaway, its partners, counsel, and

         associates:
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                                   a.        are not creditors, equity security holders, or insiders of the Debtors;

                                   b.        are not and were not, within two (2) years before the date of the
                                             filing of the petition, a director, officer, or employee of the Debtors;
                                             and

                                   c.        do not have an interest materially adverse to the interest of the
                                             Debtors’ estates or of any class of creditors or equity security
                                             holders, by reason of any direct or indirect relationship to,
                                             connection with, or interest in, the Debtors, or for any other reason.

                          8.       Young Conaway was retained by the Debtors pursuant to an engagement

         agreement dated March 7, 2023 (the “Engagement Agreement”). On March 8, 2023, Young

         Conaway received a retainer of $75,000.00 (the “Initial Retainer”) in connection with the

         planning and preparation of initial documents and the Firm’s proposed postpetition representation

         of the Debtors. On May 19, 2023, Young Conaway receive a supplemental retainer of $75,000.00

         (the “Supplemental Retainer” and together with the Initial Retainer, the “Retainer”). In total,

         Young Conaway received payments from the Debtors for services rendered prior to the Petition

         Date as follows:4

                  Invoice               Billing        Payment             Payment       Form of           Retainer
                   Date                 Period           Date              Amount        Payment           Balance
                                                     3/9/23             $75,000.00     Trust             $75,000.00
              N/A                Initial
                                 Retainer
              3/15/23            3/7-3/14/23         3/23/23            $42,461.00     Wire              $75,000.00
              3/28/23            3/13-3/24/23        3/30/23            $50,879.00     Wire              $75,000.00
              4/6/23             3/20-3/31/23        4/20/23            $48,685.49     Wire              $75,000.00
              4/26/23            4/3-4/17/23         5/4/23             $21,783.80     Wire              $75,000.00
              5/11/23            4/17-4/27/23        5/18/23            $18,545.90     Wire              $75,000.00
              5/17/23            5/1-5/12/23         5/19/23            $28,431.80     Wire              $75,000.00
              N/A                Supplemental 5/19/23                   $75,000.00     Trust             $150,000.00
                                 Retainer


         4
             Any overlap in billing periods are due to delays in time submission.
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                 Invoice          Billing        Payment          Payment          Form of          Retainer
                  Date            Period           Date           Amount           Payment          Balance
              5/31/23          5/15-5/31/23    6/5/23          $91,030.20       Wire             $150,000.00
              6/9/23           5/31-6/9/23     6/9/23          $104,821.74      Wire             $150,000.00
              6/16/23          6/1-6/15/23     6/20/23         $68,412.60       Wire             $150,000.00
              6/23/23          6/12-6/22/23    6/23/23         $67,342.80       Wire             $150,000.00
              6/30/23          6/19-6/26/23    6/30/23         $60,843.40       Applied          $89,156.60
                                                                                Against
                                                                                Retainer

         Following a final reconciliation, Young Conaway is holding approximately $89,156.60 as a

         Retainer, which will constitute a general security retainer for postpetition services and expenses.

                         9.     Compensation agreed to be paid by the Debtors to Young Conaway is to be

         for legal services rendered in connection with these chapter 11 cases. The Debtors have agreed to

         pay Young Conaway at the firm’s standard hourly rates for the legal services rendered or to be

         rendered on the Debtors’ behalf in connection with these cases by Young Conaway’s various

         attorneys and paralegals. The Debtors have also agreed to reimburse Young Conaway for its actual

         and necessary expenses incurred in connection with these cases.

                         10.    Young Conaway intends to apply for compensation for professional

         services rendered in connection with these chapter 11 cases subject to approval of the Court and

         in compliance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

         Rules, and any administrative order entered by the Court, on an hourly basis, plus reimbursement

         of actual, necessary expenses, and other charges incurred by Young Conaway.

                         11.    The Firm operates in a national and regional marketplace for legal services

         in which rates are driven by multiple factors relating to the individual lawyer, his or her area of

         specialty, the firm’s expertise, performance and reputation, the nature of the work involved, and


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         other factors. The principal attorneys and paralegal designated to represent the Debtors and their

         current standard hourly rates are:

                        Timekeeper                          Title                    Hourly Rate
                      Joseph M. Barry                      Partner                     $1,070.00
                      Ryan M. Bartley                      Partner                      $890.00
                     S. Alexander Faris                   Associate                     $600.00
                    Shella Borovinskaya                   Associate                     $505.00
                    Delali H. Agblevor                   Law Clerk                      $400.00
                        Beth Olivere                      Paralegal                     $355.00

                        12.     The hourly rates set forth above are subject to periodic adjustments to reflect

         economic and other conditions. Other attorneys and paralegals may from time to time serve the

         Debtors in connection with the matters herein described.

                        13.     The hourly rates set forth above are Young Conaway’s standard hourly rates

         for work of this nature and these rates are set at a level designed to fairly compensate Young

         Conaway for the work of its attorneys and paralegals and to cover fixed and routine overhead

         expenses. It is the Firm’s policy to charge its clients in all areas of practice for all other expenses

         incurred in connection with the client’s case. The expenses charged to clients include, among

         other things, mail and express mail charges, special or hand delivery charges, document

         processing, photocopying charges, charges for mailing supplies (including, without limitation,

         envelopes and labels) provided by the Firm to outside copying services for use in mass mailings,

         travel expenses, expenses for “working meals,” computerized research, transcription costs, as well

         as non-ordinary overhead expenses approved by the client such as secretarial and other overtime.

         The Firm will charge the Debtors for these expenses in a manner and at rates consistent with

         charges made generally to the Firm’s other clients. The Firm believes that it is fairer to charge


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         these expenses to the clients incurring them than to increase the hourly rates and spread the

         expenses among all clients.

                          14.      No promises have been received by Young Conaway, nor by any partner,

         counsel, or associate thereof, as to compensation in connection with these chapter 11 cases other

         than in accordance with the provisions of the Bankruptcy Code. Young Conaway has no

         agreement with any other entity to share with such entity any compensation received by either

         Young Conaway or any other entity in connection with these chapter 11 cases.

                          15.      The Debtors have filed, or intend to file, applications to retain certain

         professionals, including, Kramer Levin as the Debtors’ bankruptcy co-counsel; Province as the

         Debtors’ financial advisors; and Piper Sandler as the Debtors’ investment banker.                           Young

         Conaway will work with the Debtors’ other advisors to ensure there is no duplication of effort.

                          16.      Consistent with the U.S. Trustee’s Appendix B—Guidelines for Reviewing

         Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

         Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”), which became effective

         on November 1, 2013,5 I state as follows:

                                   a.       Young Conaway has not agreed to a variation of its standard or
                                            customary billing arrangements for this engagement;

                                   b.       None of the Firm’s professionals included in this engagement have
                                            varied their rate based on the geographic location of these chapter
                                            11 cases;

                                   c.       Young Conaway was retained by the Debtors for restructuring work
                                            pursuant to an engagement agreement dated March 7, 2023. The

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             The U.S. Trustee Guidelines themselves acknowledge that “the Guidelines do not supersede local rules, court
             orders, or other controlling authority.” While the Debtors and Young Conaway intend to work cooperatively with
             the U.S. Trustee to address requests for information and any concerns that may have led to the adoption of the
             U.S. Trustee Guidelines, neither the filing of this Declaration, nor anything contained herein, is intended to or
             shall be deemed to be an admission by Young Conaway that the Firm is required to comply with the U.S. Trustee
             Guidelines. Young Conaway reserves any and all rights with respect to the application of the U.S. Trustee
             Guidelines in respect of any application for employment or compensation filed in these cases
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                                        billing rates and material terms of the prepetition engagement are
                                        the same as the rates and terms described in this Application; and

                                d.      The Debtors have approved or will be approving a prospective
                                        budget and staffing plan for Young Conaway’s engagement for the
                                        postpetition period as appropriate. In accordance with the U.S.
                                        Trustee Guidelines, the budget may be amended as necessary to
                                        reflect changed or unanticipated developments.

                        17.     The professional services that Young Conaway will render to the Debtors

         include, but shall not be limited to, the following:

                                a.      providing legal advice and services with respect to the Debtors’
                                        powers and duties as debtors in possession in the continued
                                        operation of their business, management of their property, the Local
                                        Rules, practices, and procedures, and providing substantive and
                                        strategic advice on how to accomplish the Debtors’ goals in
                                        connection with the prosecution of these;

                                b.      pursuing a sale of the Debtors’ assets and approving bid procedures
                                        related thereto;

                                c.      preparing, on behalf of the Debtors, necessary applications, motions,
                                        answers, orders, reports, and other legal papers;

                                d.      appearing in Court and protecting the interests of the Debtors before
                                        the Court; and

                                e.      performing all other legal services for the Debtors that may be
                                        necessary and proper in these proceedings as counsel to the Debtors
                                        in these chapter 11 cases.

                        18.     The facts set forth in the Application are true and correct to the best of my

         knowledge, information, and belief.

         Dated: July 7, 2023
                Wilmington, Delaware


                                                            /s/ Joseph Barry
                                                            Joseph Barry




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                                     Schedule 1

                                  Interested Parties




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                                                    Peer Street, Inc.

                                             Potential Parties in Interest

         Debtors
         Peer Street Funding LLC                                Datasite LLC
         Peer Street Opportunity Fund, GP, LLC                  DMS Facility Services
         Peer Street Opportunity Investors II, LP               FCI Lender Services, Inc.
         Peer Street, Inc.                                      First American Data & Analytics
         PeerStreet Licensing, Inc.                             First American Mortgage Solutions, LLC
         PS Funding, Inc.                                       Fox & Roach, LP
         PS Options LLC                                         Gibbs Realty & Auction Co., Inc.
         PS Portfolio-ST1, LLC                                  Kirby Condominium Association, Inc.
         PS Warehouse II, LLC                                   Land Gorilla, Inc.
         PS Warehouse, LLC                                      More Property Management Inc.
         PSF Ohio, LLC                                          Surferside Villas HOA
         PSF REO, LLC                                           The Wursta Corporation
         PSF TX 1, LLC                                          Thomson Reuters
         PSF TX 2, LLC                                          Trinity Inspection Services LLC
         PSF TX 4 LLC                                           Trustpoint Technologies, Inc.

         Debtors’ Advisors                                      Top 20 Unsecured Creditors
         Kramer Levin Naftalis & Frankel LLP                    The Debtors’ Top 20 Unsecured Creditors
         Piper Sandler Companies                                on a Consolidated Basis. See Docket No. 1.
         Province, LLC
         Stretto, Inc.
         Wilson Sonsini Goodrich & Rosati
         Young Conaway Stargatt & Taylor, LLP

         Banks
         Pacific Premier Bank
         Wells Fargo & Company

         Lenders
         Magnetar Capital
         Small Business Administration

         Material Vendors & Contract
         Counterparties
         Allied Universal Security Systems
         Area Wide Realty Corp.
         CDW
         CES Limited LLC
         CloudFlare, Inc.
         Control Air Enterprises LLC
         CoreLogic Credco LLC

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         Insurance Providers                                Colchis Opportunities Master Fund, L.P.
         Chubb Group of Insurance Companies                 Diplomat Property Holdings Corp.
         Lloyd's of London                                  Dividend Capital Group, Inc. Pension Trust
         Lloyd's of London (K2 Financial Ltd)               Dragonland Global Investments Limited
         North American Capacity Insurance                  ERES Peer Street, LLC
         Co./Arch Specialty Insurance Co.                   Evan Petrie and Jessica Petrie as
         The Hartford Insurance Co.                         Community Property with the Right of
         First Insurance Funding                            Survivorship
                                                            Felicis Ventures IV, L.P.
         Landlords                                          GMO GFF Limited Partnership
         2121 Park Place Fee Owner CA, LLC                  Greenline Community Growth Fund LLC
         LiquidSpace, Inc.                                  Harris Family Trust, dated October 14, 2002
                                                            Hollencrest Bayview Partners, LP
         Utility Companies                                  J.R. Johnson
         Baltimore Department of Public Works               Jeff Wilson
         East Bay Municipal Utility District                Jessica Geraty
         KC Water                                           Joaquin Hartman
         Narragansett Bar Commission                        Kevin Marshall
         NYC Department of Environmental                    LB2 LLC
         Protection                                         LF Ventures LLC
         Pawtucket Water Supply Board                       Liberty Ship I LLC
         PG&E                                               Marc Heenan
         San Francisco Water Power Sewer                    Michael L. McHargue
                                                            Michael Loop
         Directors & Officers                               Montage Ventures Fund I, L.P.
         Brewster Johnson                                   Moore Family Trust dtd 12-29-2010
         David Dunn                                         Navitas Capital II, LP
         David Eaton                                        Rapelye Alden Trust
         Ellen Coleman                                      Rembrandt Venture Partners Fund Three
         Ivona Smith                                        L.P.
         M. Freddie Reiss                                   Robert P. Brennan Jr.
                                                            SCG Private Holdings, LLC
         Equity Holders                                     SM PeerStreet LLC
         ACM Alamosa I LP                                   South Bay Financial Group II, LLC
         ACM Alamosa I-A LP                                 The Campana Family Revocable Trust
         AH Parallel Fund IV, L.P., as nominee              The Joyce Family Trust dated February 25,
         Alpha Street Investment, LLC                       2004
         Andreessen Horowitz Fund IV, L.P., as              The Kimberly and Amos Smith Trust
         nominee                                            Thomas Fulton Scott Crosby
         Ang-Chih Kao                                       Thomvest Venture Capital SRL
         Baileyana Investments, LLC                         Toba Capital Ventures Series of Toba
         Banyan Tree Capital LLC                            Capital LLC
         Bawag P.S.K. Bank Für Arbeit Und                   Two Guys on the Beach, LLC
         Wirtschaft Und Österreichische                     Weber Family Trust
         Postsparkasse Aktiengesellschaft                   WiL Fund II, L.P.
         Brewster Johnson

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         Government Agencies/Taxing Authorities               Shannon, Brendan L.
         BED/GMEI Utility                                     Silverstein, Laurie Selber
         California Department of Financial                   Stickles, J. Kate
         Protection & Innovation / NMLS                       Walrath, Mary F
         California Secretary of State
         City of El Segundo                                   Office of the United States Trustee
         FFEIC                                                Andrew R. Vara
         Georgia Secretary of State                           Benjamin Hackman
         Illinois Secretary of State                          Christine Green
         Los Angeles County Tax Collector                     Denis Cooke
         Massachusetts Secretary of State                     Diane Giordano
         Missouri Secretary of State                          Dion Wynn
         New Jersey Department of Treasury                    Edith A. Serrano
         Rhode Island Secretary of State                      Hannah M. McCollum
         State of Delaware - Division of Corporations         Holly Dice
         Surety Solutions, a Gallagher Company -              James R. O'Malley
         Swiss Re Corporate Solutions                         Jane Leamy
         United States Securities and Exchange                Joseph Cudia
         Commission (SEC)                                     Joseph McMahon
         United States Securities and Exchange                Juliet Sarkessian
         Commission (SEC) - SEC's Investment                  Lauren Attix
         Adviser Public Disclosure (IAPD)                     Linda Casey
         Virginia State Corporation Commission                Linda Richenderfer
         Washington Secretary of State                        Michael Panacio
                                                              Nyanquoi Jones
         Judges                                               Ramona Harris
         Dorsey, John T.                                      Richard Schepacarter
         Goldblatt, Craig T.                                  Rosa Sierra‐Fox
         Horan, Thomas M.                                     Shakima L. Dortch
         Owens, Karen B.                                      Timothy J. Fox, Jr.




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